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                             AFFIDAVIT IN SUPPORT OF A
                     CRIMINAL COMPLAINT AND ARREST WARRANT                                AT BALTIMORE
                                                                                    CLERK, U.S. DISTRfCT COURT
                                                                               BY     DISTRICT OF MARYLAND
          I, Laura J. Goshen, a Special Agent with the Federal Bureau of Investigation (the "FBI"),        OEPUlY


being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

          I.     This Affidavit is made in support of a criminal complaint and arrest warrant for

GREGORY RAY BLOSSER ("BLOSSER") for violations of Title 18 U.S. Code                     S   1343 (wire

fraud).

          2.     I am a Special Agent with the FBI, and have been since on or about August 24,

2014. I am an "investigative or law enforcement officer" of the United States, within the meaning

of Section 2510(7) of Title 18, United States Code. That is, I am an officer of the United States

who is empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in 18 U.S.C.     S 2516.
          3.     I have attended the training course for Special Agents at Quantico, Virginia. I am

currently assigned to the Baltimore Field Office, Annapolis Resident Agency, where I investigate

a variety of criminal violations, including violent crimes and complex financial crimes. I have

been trained in the requirements for probable cause. I also have training and experience in the

enforcement of laws of the United States, including training in the preparation and execution of

search warrants.    I have been the affiant on email, cellular phone, and physical location search

warrants, as well as assisted in the preparation and/or execution of numerous search and arrest

warrants.

          4.     This affidavit is made in support of a criminal complaint charging BLOSSER

with knowingly and willfully executing and attempting to execute a scheme and artifice to

defraud and deceive clients of The Surrogacy Group and to obtain money from those clients by
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means of false pretenses, representations, and promises by transmitting or causing to transmit by

means of wire communications in interstate and foreign commerce an international             wire

transfer, on or about May 31, 2017, from Victim #2's Australian            bank account in the

amount of $35,000 to a BB&T bank account in the United States in the name of The

Surrogacy Group and controlled by BLOSSER ending in 8434, in violation of 18 U.S.c. ~

1343.   I   This wire transfer is described in more detail paragraph 15 of this affidavit.

            5.     Each and every fact known to me concerning this investigation are not included

herein. Only the facts and information set forth are believed to be necessary to establish probable

cause that certain federal violations have occurred.

                                 SUMMARY OF PROBABLE               CAUSE

Introduction

            6.     The Surrogacy Group, LLC, (TSG) is a Maryland company that was incorporated

on January 5, 2012 and operated by BLOSSER at 126 Cathedral Street, Annapolis, MD 21401.

As of March 5, 2019, TSG's website (www.thesurrogacygroup.com)              lists the address of 100




] The full text of 18 U.S.c.    S   1343 is as follows:

Whoever, having devised or intending to devise any scheme or artifice to defraud, or for
obtaining money or property by means of false or fraudulent pretenses, representations, or
promises, transmits or causes to be transmitted by means of wire, radio, or television
communication in interstate or foreign commerce, any writings, signs, signals, pictures, or
sounds for the purpose of executing such scheme or artifice, shall be fined under this title or
imprisoned not more than 20 years, or both. If the violation occurs in relation to, or involving
any benefit authorized, transported, transmitted, transferred, disbursed, or paid in connection
with, a presidentially declared major disaster or emergency (as those terms are defmed in section
102 of the Robert T. Stafford Disaster Relief and Emergency Assistance Act (42 U.S.C. 5122»,
or affects a fmancial institution, such person shall be fined not more than $1,000,000 or
imprisoned not more than 30 years, or both.

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Ashley Drive South, Suite 1720, Tampa, FL 33602 as an additional TSG office location. In

October 2015, TSG's corporate charter was forfeited for failure to file a property return in 2014.

However, as described below, BLOSSER and TSG continues to offer and sells surrogacy-related

services to consumers in the name of TSG by phone, email, and through the Internet. The

investigation to date has revealed that BLOSSER solicits and accepts funds from individuals

who desire to have children using a surrogate promising to use those funds to support the

surrogate during a pregnancy and then fails do so.

The Scheme to Defraud

                   a. Victim #1 (Maryland)

       7.      In March 2018, the FBI received a complaint from Victim #1 (VI), who resided

in Maryland, indicating that he/she had been defrauded by BLOSSER and TSG. Following the

initial complaint, your affiant interviewed VI in April 2018. According to VI, VI enlisted the

help of BLOSSER and TSG to locate a surrogate to carry a child for V I. V I desired to have a

child, but was unable to carry a child herself due to medical reasons. V I indicated that

BLOSSER explained TSG was designed to assist intended parents, such as VI, with navigating

through the surrogacy process from locating a surrogate through the child's delivery.       In July

2016, VI paid BLOSSER a $14,500 "locating fee" to find a suitable surrogate for her and her

husband. VI paid the fee in two credit card installments, the first being $7,000 and the second

$7,500. However, according to VI, several of the individuals BLOSSER proposed as surrogates

were not suitable candidates. Ultimately VI's medical doctor was able to locate a surrogate for

VI from BLOSSER's      database of candidates.

       8.      After a surrogate was chosen for VI, VI and the surrogate signed a contract

known as the "gestational contract," which detailed the terms and roles of each party throughout

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the surrogacy process. VI advised that BLOSSER required VI to open an escrow account to be

controlled by himself as the escrow agent in order to pay fees to the surrogate for expenses in

accordance with the gestational contract. In or around June 13, 2017, VI's husband wrote a

check to TSG in the amount of $25,000 from his Bank of America account to be deposited into

the escrow account to cover all of the expenses. Bank records obtained by your affiant revealed

that the check was deposited into a TSG account at BB&T bank ending in 8434 on or around

June 23,2017.

       9.       Sometime after signing the gestational contract, V I ' s surrogate informed V I that

BLOSSER had not made any payments from the escrow account. VI's surrogate was entitled to

approximately $3,000 per month according to the gestational contract, as well as payments for

medical expenses. VI and VI's surrogate contacted BLOSSER to inquire why the payments

had not been made. On March II, 2018, V I sent an email to greg@surrogacygroup.com           account

that requested BLOSSER pay a laboratory bill for VI's surrogate. VI informed BLOSSER in

the email "i will hold you accountable for all late charges and any risk that occurs due to your

irresponsible if she is not able to get her labs done. This is unacceptable behavior on your part."

Following this email, VI and VI's surrogate received an email from greg@surrogacygroup.com

on March 12,2018 that stated "I had to pick up my daughter from school at II & to her doctor

for another flipping ear infection. I am now getting caught up on things."

        I O.    Eventually VI's surrogate received a payment in March 2018 of $3,250, but no

additional payments were made to VI's surrogate despite numerous demands from VI. As a

result of the issues with BLOSSER, VI terminated her agreement with BLOSSER on or around'

March 29,2018, and demanded return of the funds in the escrow account. However, BLOSSER

has not responded to VI's demands and has not made any attempt to repay VI any funds. Per

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the terms of the gestational agreement between V I and the surrogate, V 1 is responsible for

compensating the surrogate for the birth of the child and all additional fees that she has is owed

even if VI is unable to recover the funds from BLOSSER.


               b.      Victims #2 and #3 (Australia)


       II.     In June 2018, your affiant interviewed Victim #2 (V2) and Victim #3 (V3), both

of whom reside in Australia. V2 and V3 located BLOSSER and TSG online and contacted

BLOSSER in or around March/April 2015. Following the initial contact, V2 and V3 signed a

contract with BLOSSER and TSG in or around March 2016. The contract outlined the services

to be provided by TSG, which included matching the couple with a surrogate. On or around

April 4, 2016, V2 initiated an international wire transfer from V2's Australian bank account in

the amount of $14,500 and wired the funds to a TSG BB&T bank account ending in 8277 in

Greensboro, NC.

       12.     V2 and V3 traveled to TSG's office in Annapolis, Maryland, in June 2016 and

met with a TSG employee. However, V2 and V3 never met BLOSSER in person. According to

V2 and V3, BLOSSER informed the couple that he only handled "complicated" clients. When

V2 and V3 demanded to see BLOSSER in person, the TSG employee provided excuses for why

BLOSSER was unable to meet and re-assured V2 and V3 that the process was going smoothly.

BLOSSER only communicated with V2 and V3 through phone calls, email, text messages, and

What's app.

       13.     In or around May 2017, BLOSSER located the first potential surrogate for V2

and V3 and orchestrated a phone call between the couple and the potential surrogate. However,

the fertility clinic used by V2 and V3 denied the surrogate based upon her medical background.

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Subsequently, another potential surrogate was located for V2 and V3. V2 and V3 selected this

surrogate. According to V2 and V3, after locating the surrogate, BLOSSER suggested V2 and

V3 complete a gestational contract between themselves and their selected surrogate and provided

the couple with a template of the contract. V2 and V3 completed the gestational contract with

the surrogate in December 2017.

        14.       On May 30, 2017, V2 received an email fromgreg@surrogacygroup.com.            The

email stated that the surrogate's base fee was $35,000 and the fee needed to be deposited into an

escrow account. The email also contained funding instructions for the escrow account. The email

also contained the salutation "Thanks Greg" with a photograph. Based on your affiant's review

of BLOSSER's       Florida driver's license photograph, your affiant believes the person depicted in

the photograph is BLOSSER.

        15.       After receiving the email, V2 and V3 wired BLOSSER approximately

$35,000 to a TSG BB&T bank account controlled by BLOSSER ending in 8434, in

Greensboro,      North Carolina, on or around May 31, 2017, to set up the escrow account for

the surrogate.     V2 and V3 indicated that they asked BLOSSER for a receipt after sending the

funds, but BLOSSER never responded. However, the same TSG employee that V2 and V3 had

met at TSG's Annapolis, Maryland office informed V2 and V3 that the money was received.

Financial records indicated this payment was deposited into a TSG bank account at BB&T bank

ending in 8434.

        16.       Similar to VI, V2 and V3 began to experience problems with BLOSSER in

obtaining payments due to the surrogate. On March 15,2018, an attorney for V2 and V3's

surrogate sent an email to greg@surrogacygroup.com       that stated "If everything is straightened

out, can we please have confirmation that the amounts previously set out have been/or will be

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paid to Amy immediately? When I last spoke to her she still had not received anything but the

$500 transfer fee." On March 16, 2018, the surrogate's attorney received an email from

greg@surrogacygroup.com.      The email stated "Hi! That was paid & invasive was sent. I am

waiting on pay stubs To verifY time off," referring, your affiant believes, to time off that the

surrogate had to take in order to undergo an embryo transfer procedure. The email contained the

salutation "Thanks Greg" with a photograph. Based on your affiant's review of BLOSSER'S

Florida driver's license photograph, your affiant believes the person depicted in the photograph

is BLOSSER. In response to the email, the surrogate's attorney sent an email to

greg@surrogacygroup.com      on March 16, 2018, that stated no pay stubs were required for

reimbursement per the terms of the gestational contract. However, BLOSSER never provided

the surrogate with the payment for travel expenses when she traveled to Maryland for the

embryo transfer procedure.

        17.    According to V2 and V3, BLOSSER did provide the surrogate with one payment

of $500 for an embryo transfer procedure, but never paid the surrogate any of the additional

funds due to her. These payments included expenses related to medical testing and invasive

procedures, as well as a $3,500 monthly allowance due to be paid to the surrogate every month

after the baby's heartbeat was confumed. The surrogate was also entitled to an additional $250

per month for miscellaneous expenses, which was also not paid by BLOSSER.

       18.     V2 and V3' s attorney attempted to contact BLOSSER to request the funds in the

escrow account be returned in order to have the funds transferred to a new account controlled by

another company, but BLOSSER never transferred the funds. According to V2 and V3,

BLOSSER maintains approximately $34,500 ofV2 and V3's funds in the escrow account that

was never returned.

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               c.      Victim #4 (North Carolina)


        19.    In July 2018, your affiant interviewed Victim #4 (V4), who resides in North

Carolina. V4 began to interview surrogacy agencies in 2017 after V4's spouse learned she could

no longer carry children on her own. V4 located BLOSSER through a "friend of a friend" who

worked with BLOSSER as a counselor in 2013 or 2014.


       20.     V4 reached out to BLOSSER in or around July of2017. V4 felt that BLOSSER

was very understanding and compassionate and liked the way in which BLOSSER's             contract

was structured. Specifically, V4liked that BLOSSER's      contract stated that the initial fee of

$14,000 was returnable if the process didn't result in a positive outcome. Other agencies V4

researched did not have a guaranteed refund.


       21.     V4 and his spouse began the process of in-vitro fertilization (IVF) at a fertility

clinic in Charlotte, North Carolina, prior to looking for a surrogate. V4 decided to begin IVF first

on the advice of BLOSSER because according to V4, BLOSSER indicated he would be able to

find a surrogate quickly.


       22.     V4 and his spouse successfully harvested one embryo through IVF in September

2017. In October 2017, V4 signed a contract with BLOSSER and sent BLOSSER $22,000.

According to V4, $14,000 of the $22,000 provided was BLOSSER's          fee and the remaining

funds were meant to cover attorney fees, the screening of potential surrogates, and locating a

surrogate. On October 27,2017, V4 received an email from greg@surrogacygroup.com            that




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contained a receipt for the $22,000 payment and stated "Please see the attached receipt. Thanks

Greg."


         23.   According to V4, BLOSSER did not send potential surrogate candidates

expeditiously as planned following receipt of the funds. BLOSSER was in communication with

V4, but it was not consistent. On April 25, 2018, V4's spouse emailed BLOSSER and stated

that she and V4 had attempted to reach BLOSSER for several days. On April 25, 2018, V4 and

V4's spouse received a response from greg@surrogacygroup.com      that stated "Hi!! You texted

me? So strange. I haven't received anything from you. I have a couple of candidates in mind for

you. I will be sending you profiles shortly. :-) Thanks Greg." According to V4, BLOSSER did

send V4 approximately six or seven surrogate profiles between February and April 2018, but

none of the surrogates were suitable candidates.


         24.   At the end of April or beginning of May 2018, V4 asked BLOSSER to refund his

money. According to V4, BLOSSER informed V4 over the phone that he would return his

money and that he had started the refund process. On or around July 16, 2018, V4 and V4's

spouse received an email from accounting@surrogacygroup.com      that indicated V4's refund

request was being processed and could take up to 30 days. The email also stated that BLOSSER

would need to approve the refund. The email contained the salutation "Kindy, Sara" and a

signature block that read "Accounting Team The Surrogacy Group, LLC (443) 569-3070."           V4

attempted to call the number provided in the email minutes after the email was received, but

nobody answered. V4 called again and left multiple messages and called what V4 believed was

the company's main line, but did not receive a response.




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       25.     On August IS, 2018, V4 received an email fromgreg@surrogacygroup.com.           The

email stated that TSG clients are refunded in the manner in which they paid and since V4 paid

with a credit card, V4 would be refunded on his credit card. The email also stated that if TSG

refunded the credit card, the credit would not be processed until the end of the month and TSG

would lose fees that the company had paid to charge V4's credit card. Further, the email stated

that V4 would receive a refund quicker ifV4 disputed the charge with the credit card company.

On August 17,2018, V4 and V4's spouse received an email fromgreg@sUITogacygroup.com

that stated "1 am having trouble understanding why you feel that you are entitled to a full

refund." The email also stated "1 will speak with Attorney Roberts about his & let you know how

to proceed." On August 29,2018, V4 sent an email to greg@surrogacygroup.com         and

gregblosserl@gmail.com    that stated V4's credit card company would not process the dispute

given that the date of the transaction was 10 months prior. V4 also stated that he/she expected the

credit card refund to be initiated in a normal manner and would look for confirmation of the

processed return.

       26.     Following V4's initial demand, V4 continued to attempt to contact BLOSSER on

numerous occasions to secure a refund. On September 12, 2018, V4 and V4's spouse received

an email from greg@sUITogacygroup.com that stated "We are prepared to refund you. The

problem with the refund is that we have performed work on your behalf. 1 need to follow up with

John today to see what we can work out." Following this email, V4 received email

correspondence from an individual who identified himself as "Brian" and reported to be an

associate of BLOSSER's who was assisting BLOSSER while he was out for a medical

condition. V4 communicated with "Brian" through email to attempt to reclaim his funds.

However, V4 has never received a refund from BLOSSER or TSG.

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               d.      Victims #5 and 6 (Virginia)


       27.     In September, 2018, your affiant interviewed Victim #5 (V5) and Victim #6 (V6),

who reside in Virgina. V5 and V6 desired to have a child, but V5 was unable to carry a child

and decided to considered surrogacy. The Columbia Fertility Center (CFC) provided V5 and V6

with information regarding multiple surrogacy options and agencies, one of which was TSG. V5

and V6 contacted TSG in December 2016. Initially, V5 and V6 did not hear back from anyone at

TSG. However, V5 and V6 eventually made contact with BLOSSER in January 2017.


       28.     On January 26, 2017, V6 received an email fromgregblosserl@gmail.com.           The

email stated that TSG had an Agency fee of $14,500, which was due at the time of signing an

agreement with TSG and covered services provided by the company up until after the child's

delivery. Further, the email stated that TSG offered a "guarantee program" for a price of

$22,000 that included legal fees, TSG's Agency fee, fees related to psychological screening, and

a trust account. The email also stated that in this payment option, TSG offered a 75% money-

back guarantee in the event of an unsuccessful pregnancy. The email contained the salutation

"Thanks Greg" with a photograph. Based on your affiant's review of BLOSSER'S         Florida

driver's license photograph, your affiant believes the person depicted in the photograph is

BLOSSER.

       29.     In April 2017, a total of three embryos were harvested from V5 and V6's genetic

material. At this time, V5 and V6 re-contacted TSG to begin the process oflocating a potential

surrogate. On April 5, 2017, V6 received email from gregblosser1@gmail.com       that contained a

TSG client representation and fee agreement, a list of expected fees and due dates, and a credit

card authorization form. The email contained the salutation "Thanks Greg" with a photograph.


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Based on your affiant's review of BLOSSER'S     Florida driver's license photograph, your affiant

believes the person depicted in the photograph is BLOSSER. Subsequently, V6 wired $22,000

on or around June 14,2017, to TSG's BB&T bank account ending in 8434. According to V5 and

V6, BLOSSER delayed sending profiles of potential surrogates after receiving the funds, and

did not send many profiles. Between April 2017 and November 2017, V5 and V6 received

approximately four potential surrogate profiles from BLOSSER, but the candidates were not

viable.


          30.    In November 2017, V5 and V6 participated in a conference call with a potential

surrogate from Richmond, VA. The couple liked the potential surrogate right away. V5 and V6

also spoke with the potential surrogate's husband to ensure he was supportive and onboard with

the process. According to V5 and V6, BLOSSER informed the couple that the potential

surrogate signed a contract with TSG that stated she would return funds paid to her out of escrow

if she backed out of the agreement. However, the potential surrogate informed V5 and V6 that

she never signed any contract with BLOSSER or TSG.


          31.    V 5 and V6 felt BLOSSER pushed the couple to set up an escrow account prior

to a contract being signed with a surrogate. In December 2017, V5 and V6 set up the escrow

account. On December 29,2017, V6 and wired $20,000.00 into a TSG account at Suntrust Bank

ending in 5949 for the escrow account to be controlled by BLOSSER. On January 8, 2018, V5

and V6 wired an additional $10,000 to a TSG account at Suntrust Bank ending in 5949 also for

the purpose of being deposited into an escrow account.


          32.   According to V5 and V6, BLOSSER advised the couple that everything was

moving forward, but V5 and V6 learned fj:om CFC that the surrogacy process would take longer

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than BLOSSER indicated. A nurse at CFC informed the couple that counseling for the surrogate

and various tests could cause the surrogacy process to take longer than BLOSSER suggested.

V5 and V6 indicated that BLOSSER stated that the staff at CFC didn't know anything and that

several steps of the surrogacy process could be waived so that the couple could be on track to

have an embryo transplanted in December 2017. However, V5 and V6 recalled that BLOSSER

later admitted that the couple would not have a baby in 2018.


       33.      V5 and V6 signed a gestational contract with the surrogate in March 2018. The

surrogate also participated in counseling in March 2018, which was paid out of pocket by V5 and

V6.


       34.       According to V5 and V6, BLOSSER failed to pay money owed to V5 and V6's

surrogate, the surrogate's counselor, and multiple attorneys involved with the surrogacy process.

V5 and V6 were forced to pay the surrogate's attorney out of pocket in or around April 2017.

Further, V5 and V6 indicated that BLOSSER never provided the couple with a copy of the

escrow statement despite numerous requests.


       35.       V 5 and V6 sent BLOSSER an email requesting the termination of their contract

with TSG and the return of funds on April 19, 2018. Following this email, V6 received an email

from greg@surrogacygroup.com      on April 20, 2018, that stated "This is not going to happen

overnight. 1 told you this & 1 am working on it and 1 want to get this taken care of as much as

you do. There are many items to figure out & 1 have to wait until 1hear from my advisory board

& the release for you to sign." The email 'also stated "1 will keep you posted & send you the

paperwork when 1 can." Following this exchange, V5 and V6 stated that they contacted

BLOSSER numerous times in an effort to obtain a refund of the funds, including attempting to

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call or email BLOSSER approximately three times per day. According to V5 and V6,

BLOSSER went weeks without responding and when BLOSSER did respond, he advised the

matter was out of his hands and his legal team was responsible for controlling the release of

funds. V5 and V6 stated that BLOSSER never returned any money to the couple. In total, V5

and V6 stated that the surrogate had only been paid $700.00 by BLOSSER for the mock cycle

and screening fees.


               e.     Victim #7 (Germany)


       36.     On November 4, 2018, your Affiant received an email from Victim #7 (V7), who

resides in Germany. In the email, V7 provided your Affiant with a summary of interaction

he/she had with BLOSSER and TSG. According to V7, V7 contacted BLOSSER in December

2016. On January 17,2017, V7 received an email from gregblosserl@wail.com.           This email

was almost identical to the email sent to V6 on January 26,2017.   The email stated that TSG had

an Agency fee of $14,500, which was due at the time of signing an agreement with TSG and

covered services provided by the company up until after the child's delivery. The email also

stated that TSG offered a "guarantee program" for a price of $22,000 that included legal fees,

TSG's Agency fee, fees related to psychological screening, and a trust account. Further, the

email stated that in this payment option, TSG offered a 75% money-back guarantee in the event

of an unsuccessful pregnancy. Subsequently, V7 signed a TSG client representation and fee

agreement with BLOSSER on or around January 29, 2017. After signing the agreement, V7

wired a payment of $22,000 from VTs bank account in Germany to TSG's BB&T bank account

ending in 8285 in Bowie, Maryland, on or around February 6, 2017.




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       37.     Following the initial payment of $22,000, V7 indicated that TSG introduced V7 to

a potential surrogate, whom V7 and hislher wife selected to be their surrogate. V7 and hislher

wife started the first IVF cycle in June 2017. Around this same time frame, V7 traveled to

TSG's Armapolis, Maryland, office and met with BLOSSER and the surrogate. V7 received an

email from gregblosserl@gmail.com     on or about June 27, 2017 that provided V7 with an

address ofTSG listed as 126 Cathedral Street, Annapolis, Maryland, 21401 to accommodate the

visit. The email contained the salutation "Thanks Greg."

       38.     On or about October 24, 2017, V7 received an email from

gregblosserl@gmail.com.     The email stated that VTs surrogate had been cleared to begin the

surrogacy process, as well as stated that a copy of an escrow agreement was attached for VTs

review. The email also stated that TSG had new wire information to receive payments and

contained the salutation "Big Hugs! Greg." V7 replied to the email and requested he/she be

provided with the new wire instruction. V7 received a response from gregblosserl@gmail.com

on or about October 25, 2017, that contained bank account information and wire instructions for

a company known as "The Donor Group, LLC, 126 Cathedral Street, Armapolis, MD 21401".

When V7 responded to this email and questioned why the payee had changed from TSG to "The

Donor Group, LLC," V7 received an email response that stated "So sorry. 1 am also The Donor

Group. 1 copied & pasted the wrong details." The email also indicated that the correct

information would be sent and contained the salutation "Thanks Greg."

       39.     On November 28, 2017, V7 received an email fromgreg@surrogacygroup.com.

The email stated that VT s case was on hold until TSG received the signed escrow agreement and

the deposit had been made. The email contained the salutation "Thanks Greg." Further, on

December 3, 2017, V7 received an email from gregblosserl@gmail.com.       The email stated "We

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cannot proceed until we receive the signed agreement back & funds sent to us." The email

contained the salutation "Thanks so much Greg." Subsequently, on or about December 5, 2017,

V7, VTs spouse, and BLOSSER signed the escrow contract. V7 then wired a payment of

$25,000 from VTs bank account in Germany to TSG's Suntrust Bank account ending in 5949 in

Tampa, FL, on or about December 7,2017, to fund the escrow account. Also in December 2017,

V7 and his/her wife traveled to the United States for another cycle oflVF and requested that

BLOSSER meet the couple in person. However, according to V7, BLOSSER was suddenly no

longer available and appeared to disappear. Further, all other phone numbers associated with

TSG were un-reachable.

       40.     V7 attempted to reach BLOSSER on multiple occasions between January 2018

and April 2018 with little response from BLOSSER. V7 sent an email to

greg@surrogacygroup.com     on March 3, 2018, requesting a meeting with BLOSSER when V7

and his/her spouse planned to travel to Annapolis, Maryland, in or around March 21, 2018.

However, V7 was unable to reach BLOSSER and BLOSSER's office in Annapolis, Maryland,

was locked when V7 arrived. V7 also indicated he traveled to TSG's office in New York at

another point in time, but the building receptionist indicated she had been at the location for 15

years and was unaware ofTSG.      Further, V7 indicated that he requested BLOSSER provide

him/her with access to the escrow portal so that he could confirm the account balance, but

BLOSSER never did so.

       41.     On October 10, 2018, an email from support@surrogacygroup.com         was sent to

V7. The sender of the email identified herself as "Lisa" and stated that she was the Director of

Client Services at TSG and would be the couple's point of contact. In the email, "Lisa" also

stated that BLOSSER had been out of the office on medical leave. V7 continued to

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communicate with "Lisa" through email following this initial exchange. On October 31, 2018,

V7 sent an email to greg@surrogacygroup.com       that contained a letter from V7 requesting the

return of the VTs escrow funds. V7 explained in the letter that he/she had learned that escrow

funds must be held by an independent escrow agent according to Delaware state law. V7 also

mailed a copy of the letter to TSO's office at 100 S. Ashley Street, Suite 600, Tampa, FL 33602,

but the letter was returned as undeliverable. According to V7, despite this demand, BLOSSER

has not returned any funds to V7.


       42.     As of March 2019, TSO's website (www.thesurrogacygroup.com)           stated "You

may reach Oreg via email greg@surrogacygroup.com         or (410) 266.7704".   Thus, it stands to

reason that BLOSSER is continuing to facilitate the fraud scheme and attract new victims.

Further, your affiant is aware of additional victims that have not been described in this affidavit.


                                          CONCLUSION

       43.     Based on the foregoing, 1 respectfully submit that there is probable cause to

believe that BLOSSER knowingly and willfully executed and attempted to execute a scheme

and artifice to defraud and deceive TSO clients and to obtain money from those clients by means

of false pretenses, representations, and promises by transmitting or causing to transmit by means

of wire communications in interstate and foreign commerce an international       wire transfer, on

or about May 31, 2017, from Victim #2's Australian        bank account in the amount of $35,000

to a BB&T bank account in the United States in the name of The Surrogacy Group and

controlled by BLOSSER ending in 8434, in violation of 18 U.S.C. ~ 1343 (wire fraud).

       44.     I therefore respectfully request that this Court issue a criminal complaint and a

warrant to arrest BLOSSER.

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                                   REQUEST FOR SEALING

         45.    Because this investigation is continuing, disclosure ofthis affidavit, and/or

this application and the attachments thereto will jeopardize the progress of the

investigation. Accordingly, the undersigned requests that the Court issue an order that

the criminal complaint and this affidavit be filed under seal until further order of this

Court.




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                                                    Laura J. Gosfifn
                                                    Special Agent
                                                    Federal Bureau ofInvestigation

         Subscribed and sworn to before me
         On:      <1. -:;..'7 - If


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         niE HONORABLE BETH P. GESNER
         UNITED STATES MAGISTRATE JUDGE




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